       Case 1:11-cr-00025-TWP-TAB                                Document 803                       Filed 06/30/16          Page 1 of 1 PageID #:
                                                                        2756
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                     Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                                     for the
                                                             Southern District
                                                           __________ District of
                                                                               ofIndiana
                                                                                  __________

                    United States of America
                               v.                                                          )
                       Jesus Soto-Ozuna                                                    )
                                                                                           )   Case No: 1:11CR0025-002
                    a/k/a "Neri", a/k/a "Chuy"
                                                                                           )   USM No: 09944-028
Date of Original Judgment:                                 04/18/2013                      )
Date of Previous Amended Judgment:                                                         )   Pro Se
(Use Date of Last Amended Judgment if Any)                                                     Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Soto-Ozuna's sentence was imposed pursuant to an 11(c)(1)(C) plea agreement. In addition, his original
    sentence was a variance that is the low-end of the amended guideline range. For these reasons, he is not
    eligible for a sentence reduction under Amendment 782.




Except as otherwise provided, all provisions of the judgment dated                                                           shall remain in effect.
IT IS SO ORDERED.

Order Date:               6/30/2016
                                                                                                                  Judge’s signature


Effective Date:                                                                            Honorable Tanya Walton Pratt, U.S. District Court Judge
                     (if different from order date)                                                             Printed name and title
                                                      A CERTIFIED TRUE COPY
                                                      Laura A. Briggs, Clerk
                                                      U.S. District Court
                                                      Southern District of Indiana

                                                      By
                                                                            Deputy Clerk
